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                           UNITED STATES DISTRICT COURT
  10
                         CENTRAL DISTRICT OF CALIFORNIA
  11
  12
       MARIO CARRASCO, an individual,           Case No. 2:21-CV-05965-MWF(ASx)
  13
                                                Assigned to:
  14                                            Hon. Michael W. Fitzgerald, Ctrm 5A
                  Plaintiff,
  15
            v.
  16
     CITY OF GLENDORA, GLENDORA                 PROTECTIVE ORDER
  17 POLICE DEPARTMENT, MATT
     EGAN, in his official capacity as
  18 Glendora Chief of Police, DYLAN
  19 PAULSON, DANIEL
     GIGLIOBIANCO; AND MARK
  20 REYES AND DOES 4-10,                       Action Filed:     July 23, 2021
                                                Trial Date:       Not Yet Set
  21              Defendants.
  22
  23
  24        IT IS HEREBY STIPULATED, by and between                   Plaintiff MARIO
  25 CARRASCO, an individual (“Plaintiff”), on the one hand, and Defendants CITY OF
  26 GLENDORA, MATT EGAN, in his official capacity as Glendora Chief of Police,
  27 DYLAN PAULSON, DANIEL GIGLIOBIANCO; AND MARK REYES (“City
  28 Defendants”), on the other hand, by and through their respective counsel of record,

                                 STIPULATED PROTECTIVE ORDER
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   1 that the following Stipulated Protective Order (the “Protective Order”) may be entered
   2 by the Court:
   3         1.    A. PURPOSES AND LIMITATIONS
   4         Discovery in this action is likely to involve production of confidential,
   5 proprietary, or private information for which special protection from public disclosure
   6 and from use for any purpose other than prosecuting this litigation may be warranted.
   7 Accordingly, the parties hereby stipulate to and petition the Court to enter the
   8 following Stipulated Protective Order. The parties acknowledge that this Order does
   9 not confer blanket protections on all disclosures or responses to discovery and that
  10 the protection it affords from public disclosure and use extends only to the limited
  11 information or items that are entitled to confidential treatment under the applicable
  12 legal principles. The parties further acknowledge, as set forth in Section 12.3, below,
  13 that this Stipulated Protective Order does not entitle them to file confidential
  14 information under seal; Civil Local Rule 79-5 sets forth the procedures that must be
  15 followed and the standards that will be applied when a party seeks permission from
  16 the court to file material under seal.
  17         B. GOOD CAUSE STATEMENT
  18         This action is likely to involve materials and information that were acquired in
  19 confidence by public employees in the course of their duties and have not been
  20 officially disclosed or made open or available to the public. Such confidential
  21 materials and information consist of, among other things: (1) confidential police
  22 personnel files and accompanying materials maintained by the City of Glendora
  23 Police Department; (2) law enforcement investigative reports and records which may
  24 contain personal contact information of third party witnesses; (3) information
  25 otherwise generally unavailable to the public, or which may be privileged or otherwise
  26 protected from disclosure under state or federal statues, court rules, case decisions, or
  27 common law. City Defendants contend that individual officers have an interest in
  28 protecting their own privacy rights to information in their personnel files and other
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                                   STIPULATED PROTECTIVE ORDER
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   1 related information. Plaintiff contends that most of the materials relating to this
   2 incident are suitable for public disclosure, except for truly personal information.
   3         Accordingly, to expedite the flow of information, to facilitate the prompt
   4 resolution of disputes over confidentiality of discovery materials, to adequately
   5 protect information the parties are entitled to keep confidential, to ensure that the
   6 parties are permitted reasonably necessary uses of such material in preparation for
   7 and in the conduct of trial, to address their handling at the end of the litigation, and
   8 serve the ends of justice, a protective order for such information is justified in this
   9 matter. It is the intent of the parties that information will not be designated as
  10 confidential for tactical reasons and that nothing be so designated without a good faith
  11 belief that it has been maintained in a confidential, non-public manner, and there is
  12 good cause why it should not be part of the public record of this case.
  13         2.    DEFINITIONS
  14         2.1   Action: this pending federal law suit.
  15         2.2   Challenging Party: a Party or Non-Party that challenges the designation
  16 of information or items under this Order.
  17         2.3   “CONFIDENTIAL” Information or Items: information (regardless of
  18 how it is generated, stored or maintained) or tangible things that qualify for protection
  19 under Federal Rule of Civil Procedure 26(c), and as specified above in the Good
  20 Cause Statement.
  21         2.4   Counsel: Outside Counsel of Record and House Counsel (as well as their
  22 support staff).
  23         2.5   Designating Party: a Party or Non-Party that designates information or
  24 items that it produces in disclosures or in responses to discovery as
  25 “CONFIDENTIAL.”
  26         2.6   Disclosure or Discovery Material: all items or information, regardless of
  27 the medium or manner in which it is generated, stored, or maintained (including,
  28
                                                 -3-
                                   STIPULATED PROTECTIVE ORDER
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   1 among other things, testimony, transcripts, and tangible things), that are produced or
   2 generated in disclosures or responses to discovery in this matter.
   3         2.7   Expert: a person with specialized knowledge or experience in a matter
   4 pertinent to the litigation who has been retained by a Party or its counsel to serve as
   5 an expert witness or as a consultant in this Action.
   6         2.8   House Counsel: attorneys who are employees of a party to this Action.
   7 House Counsel does not include Outside Counsel of Record or any other outside
   8 counsel.
   9         2.9   Non-Party: any natural person, partnership, corporation, association, or
  10 other legal entity not named as a Party to this action.
  11         2.10 Outside Counsel of Record: attorneys who are not employees of a party
  12 to this Action but are retained to represent or advise a party to this Action and have
  13 appeared in this Action on behalf of that party or are affiliated with a law firm which
  14 has appeared on behalf of that party, and includes support staff.
  15         2.11 Party: any party to this Action, including all of its officers, directors,
  16 employees, consultants, retained experts, and Outside Counsel of Record (and their
  17 support staffs).
  18         2.12 Producing Party: a Party or Non-Party that produces Disclosure or
  19 Discovery Material in this Action.
  20         2.13 Professional Vendors: persons or entities that provide litigation support
  21 services (e.g., photocopying, videotaping, translating, preparing exhibits or
  22 demonstrations, and organizing, storing, or retrieving data in any form or medium)
  23 and their employees and subcontractors.
  24         2.14 Protected Material: any Disclosure or Discovery Material that is
  25 designated as “CONFIDENTIAL.”
  26         2.15 Receiving Party: a Party that receives Disclosure or Discovery Material
  27 from a Producing Party.
  28         3.    SCOPE
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   1        The protections conferred by this Stipulation and Order cover not only
   2 Protected Material (as defined above), but also (1) any information copied or extracted
   3 from Protected Material; (2) all copies, excerpts, summaries, or compilations of
   4 Protected Material; and (3) any testimony, conversations, or presentations by Parties
   5 or their Counsel that might reveal Protected Material.
   6        Any use of Protected Material at trial shall be governed by the orders of the
   7 trial judge. This Order does not govern the use of Protected Material at trial.
   8        4.      DURATION
   9        Even after final disposition of this litigation, the confidentiality obligations
  10 imposed by this Order shall remain in effect until a Designating Party agrees
  11 otherwise in writing or a court order otherwise directs. Final disposition shall be
  12 deemed to be the later of (1) dismissal of all claims and defenses in this Action, with
  13 or without prejudice; and (2) final judgment herein after the completion and
  14 exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
  15 including the time limits for filing any motions or applications for extension of time
  16 pursuant to applicable law.
  17        5.      DESIGNATING PROTECTED MATERIAL
  18        5.1    Exercise of Restraint and Care in Designating Material for Protection.
  19 Each Party or Non-Party that designates information or items for protection under this
  20 Order must take care to limit any such designation to specific material that qualifies
  21 under the appropriate standards. The Designating Party must designate for protection
  22 only those parts of material, documents, items, or oral or written communications
  23 that qualify so that other portions of the material, documents, items, or
  24 communications for which protection is not warranted are not swept unjustifiably
  25 within the ambit of this Order.
  26        Mass, indiscriminate, or routinized designations are prohibited. Designations
  27 that are shown to be clearly unjustified or that have been made for an improper
  28 purpose (e.g., to unnecessarily encumber the case development process or to impose
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   1 unnecessary expenses and burdens on other parties) may expose the Designating Party
   2 to sanctions.
   3        If it comes to a Designating Party’s attention that information or items that it
   4 designated for protection do not qualify for protection, that Designating Party must
   5 promptly notify all other Parties that it is withdrawing the inapplicable designation.
   6        5.2      Manner and Timing of Designations. Except as otherwise provided in
   7 this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
   8 stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
   9 under this Order must be clearly so designated before the material is disclosed or
  10 produced.
  11        Designation in conformity with this Order requires:
  12        (a)      for information in documentary form (e.g., paper or electronic
  13 documents, but excluding transcripts of depositions or other pretrial or trial
  14 proceedings), that the Producing Party affix at a minimum, the legend
  15 “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that
  16 contains protected material. If only a portion or portions of the material on a page
  17 qualifies for protection, the Producing Party also must clearly identify the protected
  18 portion(s) (e.g., by making appropriate markings in the margins).
  19        A Party or Non-Party that makes original documents available for inspection
  20 need not designate them for protection until after the inspecting Party has indicated
  21 which documents it would like copied and produced. During the inspection and before
  22 the designation, all of the material made available for inspection shall be deemed
  23 “CONFIDENTIAL.” After the inspecting Party has identified the documents it wants
  24 copied and produced, the Producing Party must determine which documents, or
  25 portions thereof, qualify for protection under this Order. Then, before producing the
  26 specified documents, the Producing Party must affix the “CONFIDENTIAL legend”
  27 to each page that contains Protected Material. If only a portion or portions of the
  28 material on a page qualifies for protection, the Producing Party also must clearly
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   1 identify the protected portion(s) (e.g., by making appropriate markings in the
   2 margins).
   3         (b)   for testimony given in depositions that the Designating Party identify the
   4 Disclosure or Discovery Material on the record, before the close of the deposition all
   5 protected testimony.
   6         (c)   for information produced in some form other than documentary and for
   7 any other tangible items, that the Producing Party affix in a prominent place on the
   8 exterior of the container or containers in which the information is stored the legend
   9 “CONFIDENTIAL.” If only a portion or portions of the information warrants
  10 protection, the Producing Party, to the extent practicable, shall identify the protected
  11 portion(s).
  12         5.3   Inadvertent Failures to Designate. If timely corrected, an inadvertent
  13 failure to designate qualified information or items does not, standing alone, waive the
  14 Designating Party’s right to secure protection under this Order for such material.
  15 Upon timely correction of a designation, the Receiving Party must make reasonable
  16 efforts to assure that the material is treated in accordance with the provisions of this
  17 Order.
  18         6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
  19         6.1   Timing of Challenges. Any Party or Non-Party may challenge a
  20 designation of confidentiality at any time that is consistent with the Court’s
  21 Scheduling Order.
  22         6.2   Meet and Confer. The Challenging Party shall initiate the informal
  23         dispute resolution process set forth in the Court's Procedures and Schedules.
  24 see http://www.cacd.uscourts.gov/honorable-alka-sagar
  25         6.3   The burden of persuasion in any such challenge proceeding shall be on
  26 the Designating Party. Frivolous challenges, and those made for an improper purpose
  27 (e.g., to harass or impose unnecessary expenses and burdens on other parties) may
  28 expose the Challenging Party to sanctions. Unless the Designating Party has waived
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   1 or withdrawn the confidentiality designation, all parties shall continue to afford the
   2 material in question the level of protection to which it is entitled under the Producing
   3 Party’s designation until the Court rules on the challenge.
   4        7.     ACCESS TO AND USE OF PROTECTED MATERIAL
   5        7.1    Basic Principles. A Receiving Party may use Protected Material that     is
   6 disclosed or produced by another Party or by a Non-Party in connection with this
   7 Action only for prosecuting, defending, or attempting to settle this Action. Such
   8 Protected Material may be disclosed only to the categories of persons and under the
   9 conditions described in this Order. When the Action has been terminated, a Receiving
  10 Party must comply with the provisions of section 13 below (FINAL DISPOSITION).
  11        Protected Material must be stored and maintained by a Receiving Party at a
  12 location and in a secure manner that ensures that access is limited to the persons
  13 authorized under this Order.
  14        7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless
  15 otherwise ordered by the court or permitted in writing by the Designating Party, a
  16 Receiving     Party    may     disclose      any   information   or   item   designated
  17 “CONFIDENTIAL” only to:
  18        (a)    the Receiving Party’s Outside Counsel of Record in this Action, as well
  19 as employees of said Outside Counsel of Record to whom it is reasonably necessary
  20 to disclose the information for this Action;
  21        (b)    the officers, directors, and employees (including House Counsel) of the
  22 Receiving Party to whom disclosure is reasonably necessary for this Action;
  23        (c)    Experts (as defined in this Order) of the Receiving Party to whom
  24 disclosure is reasonably necessary for this Action and who have signed the
  25 “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  26        (d)    the court and its personnel;
  27        (e)    court reporters and their staff;
  28
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   1        (f)    professional jury or trial consultants, mock jurors, and Professional
   2 Vendors to whom disclosure is reasonably necessary for this Action and who have
   3 signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
   4        (g)    the author or recipient of a document containing the information or a
   5 custodian or other person who otherwise possessed or knew the information;
   6        (h)    during their depositions, witnesses, and attorneys for witnesses, in the
   7 Action to whom disclosure is reasonably necessary provided: (1) the deposing party
   8 requests that the witness sign the form attached as Exhibit A hereto; and (2) they will
   9 not be permitted to keep any confidential information unless they sign the
  10 “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
  11 agreed by the Designating Party or ordered by the court. Pages of transcribed
  12 deposition testimony or exhibits to depositions that reveal Protected Material may be
  13 separately bound by the court reporter and may not be disclosed to anyone except as
  14 permitted under this Stipulated Protective Order; and
  15        (i)    any mediator or settlement officer, and their supporting personnel,
  16 mutually agreed upon by any of the parties engaged in settlement discussions.
  17        8.     PROTECTED MATERIAL SUBPOENAED OR ORDERED
  18 PRODUCED IN OTHER LITIGATION
  19        If a Party is served with a subpoena or a court order issued in other litigation
  20 that compels disclosure of any information or items designated in this Action as
  21 “CONFIDENTIAL,” that Party must:
  22        (a)    promptly notify in writing the Designating Party. Such notification shall
  23 include a copy of the subpoena or court order;
  24        (b)    promptly notify in writing the party who caused the subpoena or order to
  25 issue in the other litigation that some or all of the material covered by the subpoena
  26 or order is subject to this Protective Order. Such notification shall include a copy of
  27 this Stipulated Protective Order; and
  28
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    1        (c)     cooperate with respect to all reasonable procedures sought to be pursued
    2 by the Designating Party whose Protected Material may be affected.
    3        If the Designating Party timely seeks a protective order, the Party served with
    4 the subpoena or court order shall not produce any information designated in this action
    5 as “CONFIDENTIAL” before a determination by the court from which the subpoena
    6 or order issued, unless the Party has obtained the Designating Party’s permission. The
    7 Designating Party shall bear the burden and expense of seeking protection in that court
    8 of its confidential material and nothing in these provisions should be construed as
    9 authorizing or encouraging a Receiving Party in this Action to disobey a lawful
   10 directive from another court.
   11        9.      A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
   12 PRODUCED IN THIS LITIGATION
   13        (a)     The terms of this Order are applicable to information produced by a Non-
   14 Party in this Action and designated as “CONFIDENTIAL.” Such information
   15 produced by Non-Parties in connection with this litigation is protected by the
   16 remedies and relief provided by this Order. Nothing in these provisions should be
   17 construed as prohibiting a Non-Party from seeking additional protections.
   18        (b)     In the event that a Party is required, by a valid discovery request, to
   19 produce a Non-Party’s confidential information in its possession, and the Party is
   20 subject to an agreement with the Non-Party not to produce the Non-Party’s
   21 confidential information, then the Party shall:
   22        (1)     promptly notify in writing the Requesting Party and the Non-Party that
   23 some or all of the information requested is subject to a confidentiality agreement with
   24 a Non-Party;
   25        (2)     promptly provide the Non-Party with a copy of the Stipulated Protective
   26 Order in this Action, the relevant discovery request(s), and a reasonably specific
   27 description of the information requested; and
   28
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                                    STIPULATED PROTECTIVE ORDER
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    1         (3)   make the information requested available for inspection by the Non-
    2 Party, if requested.
    3         (c)   If the Non-Party fails to seek a protective order from this court within 14
    4 days of receiving the notice and accompanying information, the Receiving Party may
    5 produce the Non-Party’s confidential information responsive to the discovery request.
    6 If the Non-Party timely seeks a protective order, the Receiving Party shall not produce
    7 any information in its possession or control that is subject to the confidentiality
    8 agreement with the Non-Party before a determination by the court. Absent a court
    9 order to the contrary, the Non-Party shall bear the burden and expense of seeking
   10 protection in this court of its Protected Material.
   11         10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
   12         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
   13 Protected Material to any person or in any circumstance not authorized under this
   14 Stipulated Protective Order, the Receiving Party must immediately (a) notify in
   15 writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
   16 to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
   17 persons to whom unauthorized disclosures were made of all the terms of this Order,
   18 and (d) request such person or persons to execute the “Acknowledgment and
   19 Agreement to Be Bound” that is attached hereto as Exhibit A.
   20         11.   INADVERTENT            PRODUCTION          OF      PRIVILEGED          OR
   21 OTHERWISE PROTECTED MATERIAL
   22         When a Producing Party gives notice to Receiving Parties that certain
   23 inadvertently produced material is subject to a claim of privilege or other protection,
   24 the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
   25 Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
   26 may be established in an e-discovery order that provides for production without prior
   27 privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
   28 parties reach an agreement on the effect of disclosure of a communication or
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    1 information covered by the attorney-client privilege or work product protection, the
    2 parties may incorporate their agreement in the stipulated protective order submitted
    3 to the court.
    4         12.     MISCELLANEOUS
    5         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
    6 person to seek its modification by the Court in the future.
    7         12.2 Right to Assert Other Objections. By stipulating to the entry of this
    8 Protective Order no Party waives any right it otherwise would have to object to
    9 disclosing or producing any information or item on any ground not addressed in this
   10 Stipulated Protective Order. Similarly, no Party waives any right to object on any
   11 ground to use in evidence of any of the material covered by this Protective Order.
   12         12.3 Filing Protected Material. A Party that seeks to file under seal any
   13 Protected Material must comply with Civil Local Rule 79-5. Protected Material may
   14 only be filed under seal pursuant to a court order authorizing the sealing of the specific
   15 Protected Material at issue. If a Party's request to file Protected Material under seal is
   16 denied by the court, then the Receiving Party may file the information in the public
   17 record unless otherwise instructed by the court.
   18         13.     FINAL DISPOSITION
   19         After the final disposition of this Action, as defined in paragraph 4, within 60
   20 days of a written request by the Designating Party, each Receiving Party must return
   21 all Protected Material to the Producing Party or destroy such material. As used in this
   22 subdivision, “all Protected Material” includes all copies, abstracts, compilations,
   23 summaries, and any other format reproducing or capturing any of the Protected
   24 Material. Whether the Protected Material is returned or destroyed, the Receiving Party
   25 must submit a written certification to the Producing Party (and, if not the same person
   26 or entity, to the Designating Party) by the 60 day deadline that (1) identifies (by
   27 category, where appropriate) all the Protected Material that was returned or destroyed
   28 and (2)affirms that the Receiving Party has not retained any copies, abstracts,
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    1 compilations, summaries or any other format reproducing or capturing any of the
    2 Protected Material. Notwithstanding this provision, Counsel are entitled to retain an
    3 archival copy of all pleadings, motion papers, trial, deposition, and hearing
    4 transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
    5 reports, attorney work product, and consultant and expert work product, even if such
    6 materials contain Protected Material. Any such archival copies that contain or
    7 constitute Protected Material remain subject to this Protective Order as set forth in
    8 Section 4 (DURATION).
    9        14.   Any violation of this Order may be punished by any and all appropriate
   10 measures including, without limitation, contempt proceedings and/or monetary
   11 sanctions.
   12
   13 IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
   14
   15 DATED: November 5, 2021             SCHONBRUN SEPLOW HARRIS
                                          HOFFMAN & ZELDES LLP
   16
                                          PAUL L. HOFFMAN
   17                                     JOHN C. WASHINGTON
   18
   19                                     By:         /s/: Paul Hoffman
   20                                           PAUL L. HOFFMAN
                                                Attorneys for Plaintiff
   21                                           MARIO CARRASCO
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                                  STIPULATED PROTECTIVE ORDER
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    1 DATED: November 5, 2021           ALESHIRE & WYNDER, LLP
                                        WILLIAM W. WYNDER
    2
                                        GLEN E. TUCKER
    3                                   ANAHIT SARGSYAN
    4
    5                                   By:         /s/: Anahit Sargysan
    6                                         ANAHIT SARGSYAN
                                              Attorneys for Defendants CITY OF
    7                                         GLENDORA; MATT EGAN, in his official
    8                                         capacity as Glendora Chief of Police;
                                              DYLAN          PAULSON;     DANIEL
    9                                         GIGLIOBIANCO; AND MARK REYES
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   12
   13 FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
   14
   15 DATED:       November 8, 2021

   16
   17       / s / Sagar
      Honorable Alka Sagar
   18 United States Magistrate Judge
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    1                                           EXHIBIT A
    2                ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
    3
    4         I,                               [print or     type full    name],       of
    5         __________________________ [print or type full address], declare under
    6 penalty of perjury that I have read in its entirety and understand the Stipulated
    7 Protective Order that was issued by the United States District Court for the Central
    8 District of California on [date] in the case of MARIO CARRASCO, an individual,
    9 v. CITY OF GLENDORA, MATT EGAN, in his official capacity as Glendora Chief
   10 of Police, DYLAN PAULSON, DANIEL GIGLIOBIANCO, AND MARK REYES
   11 (Case No. 2:21-CV-05965-MWF-ASx). I agree to comply with and to be bound by
   12 all the terms of this Stipulated Protective Order and I understand and acknowledge
   13 that failure to so comply could expose me to sanctions and punishment in the nature
   14 of contempt. I solemnly promise that I will not disclose in any manner any information
   15 or item that is subject to this Stipulated Protective Order to any person or entity except
   16 in strict compliance with the provisions of this Order.
   17         I further agree to submit to the jurisdiction of the United States District Court
   18 for the Central District of California for the purpose of enforcing the terms of this
   19 Stipulated Protective Order, even if such enforcement proceedings occur after
   20 termination of this action. I hereby appoint _______________ [print or type full
   21 name] of __________________ [print or type full address and telephone number] as
   22 my California agent for service of process in connection with this action or any
   23 proceedings related to enforcement of this Stipulated Protective Order.
   24         Date: ____________________
   25         City and State where sworn and signed: ___________________________
   26
        Printed name: _________________________
   27
   28 Signature: ________________________________


                                                 -15-
                                    STIPULATED PROTECTIVE ORDER
